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                                     EXHIBIT A

                                   Form of Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                         ) Chapter 11
                                                               )


W. R. GRACE & CO., et al., 1                                   ) Case No. 01-01139 (JKF)
                                                               ) (Jointly Administered)
                             Debtors.                          )
                                                                   Re docket no.
                                                               )
                                                                   Hearing Agenda item no.


     ORDER PROVIDING FOR THE RETURN OF CERTAIN PLEADINGS AND AN
     ORDER FILED UNDER SEAL TO DEBTORS’ COUNSEL FOR DESTRUCTION

         Upon consideration of the Motion For Entry of an Order Providing for the Return of

Certain Pleadings and an Order Filed Under Seal to debtors’ Counsel for Destruction (the

"Motion); it appearing that the relief requested is in the best interests of the Debtors, their estates,

their creditors and other parties in interest; the Court having jurisdiction to consider the Motion

and the relief requested therein pursuant to 28 U.S.C.              §S 157   and 1334; consideration of the

Motion and the relief requested therein being a core proceeding pursuant to 28 U.S.C. §                    157(b);

venue being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; notice of the


    The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W.
    R. Grace & Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon,
    Inc., CB Biomedical, Inc. (f/k/a Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc.,
    Creative Food N Fun Company, Darex Puerto Rico, Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC
    (f/k/a Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston Ltd., G C Limited Partners I, Inc. (f/k/a
    Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (flkia Grace Cocoa Management, Inc.), GEC
    Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
    Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary
    Systems, Inc., Grace Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe,
    Inc., Grace H-G Inc., Grace H-G II Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc.
    (f/Ida Dearborn International Holdings, Inc.), Grace Offshore Company, Grace PAR Corporation, Grace
    Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures Corp., Grace Washington, Inc., W.
    R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc., Guanica-Caribe
    Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
    Development Company, L B Realty, Inc., Litigation Management, Inc. (17k/a GHSC Holding, Inc., Grace JVH,
    Inc., Asbestos Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings
    Corp. (f/k/a Nestor-BNA Holdings Corporation), MRA Intermedco, Inc. (f/k/a Nestor-BNA, Inc.), MRA
    Staffing Systems, Inc. (f/k/a British Nursing Association, Inc.), Remedium Group, Inc. (17k/a Environmental
    Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming, Inc.), Southern Oil, Resin &
    Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/Ida Cross Country
    Staffing), Hayden-Gulch West Coal Company and H-G Coal Company.


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Motion having been adequate and appropriate under the circumstances; and after due

deliberation and sufficient cause appearing therefor, it is hereby ORDERED that: 2

1.         The Motion is granted in its entirety.

2.         The Court shall return the Filed Under Seal Pleadings and the Unredacted Acquisition

           Approval Order.

3.         The Debtors are authorized to take all actions that may be necessary to undertake the

           destruction of the Filed Under Seal Pleadings and the Unredacted Acquisition Approval

           Order.

4.         The Court shall retain jurisdiction to hear and determine all matters arising from or

           relating to the implementation of this Order and the destruction of the Filed Under Seal

           Pleadings and the Unredacted Acquisition Approval Order.

5.         This Order shall be effective and enforceable immediately upon entry and its provisions

           shall be self-executing and shall not be stayed under Fed. R. Bankr. P. 7062, Fed. R.

           Bankr. P. 9014 or otherwise.

Dated:                       .2011



                                                        Honorable Judith K. Fitzgerald
                                                        United States Bankruptcy Judge




2
    Capitalized terms not defined herein shall have the meaning ascribed to them in, as the case may be, the Motion,
      the Motion for Entry of a Protective Order Authorizing the Debtors to File Under Seal Their Motion for Entry
      of an Order Authorizing, But Not Requiring, the Debtors to Participate in a Competitive Auction, and If
      Selected as the Winning Bidder Thereafter Consummate a Proposed Acquisition, dated June 20, 2011 [docket
      no. 27115] (the "Seal Motion") or the First Amended Joint Plan of Reorganization in their Chapter 11 Cases,
      Docket no. 25881, as it may be further amended, supplemented or otherwise further amended from time to time,
      and the schedules and exhibits to the foregoing, as they may be in effect from time to time (the "Plan").


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